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                    United States Court of Appeals
                                  FIFTH CIRCUIT
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                                                               NEW ORLEANS, LA 70130

                               April 19, 2023
MEMORANDUM TO COUNSEL OR PARTIES LISTED BELOW:
      No. 22-11036       Charitable DAF Fund, L.P. v. Highland Capital
                         Management, L.P.
                         USDC No. 3:21-CV-1974
                         USDC No. 3:21-CV-1979

The court has granted in part an extension of time to and including
May 12, 2023, for filing a reply brief in this case.


                                   Sincerely,
                                   LYLE W. CAYCE, Clerk



                                   By: _________________________
                                   Melissa V. Mattingly, Deputy Clerk
                                   504-310-7719
Mr.   Zachery Z. Annable
Mr.   Jonathan Bridges
Mr.   Gregory Vincent Demo
Mr.   Roy Theodore Englert Jr.
Mr.   Brian Field
Ms.   Shikha Garg
Mr.   Aaron Scott Gordon
Ms.   Melissa Sue Hayward
Mr.   Erik Scott Jaffe
Mr.   Jeffrey Scott Levinger
Mr.   Matthew Michael Madden
Mr.   John A. Morris
Mr.   Jeffrey N. Pomerantz
Mr.   Mazin Ahmad Sbaiti
